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                             RUSS, AUGUST & KABAT
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                             SPEX TECHNOLOGIES, INC.
                        7
                                                 UNITED STATES DISTRICT COURT
                        8                       CENTRAL DISTRICT OF CALIFORNIA
                                                      SOUTHERN DIVISION
                        9
                               SPEX TECHNOLOGIES, INC.,
                       10                                              Case No. 8:16-cv-01800
                                                Plaintiff,
                       11                                              COMPLAINT FOR PATENT
RUSS, AUGUST & KABAT




                                          v.                           INFRINGEMENT
                       12
                               TOSHIBA AMERICA ELECTRONIC              JURY TRIAL DEMANDED
                       13      COMPONENTS, INC., TOSHIBA
                               AMERICA INFORMATION
                       14      SYSTEMS, INC., TOSHIBA
                               AMERICA, INC., TOSHIBA
                       15      CORPORATION
                       16
                                                Defendants.
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                                                              COMPLAINT
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                        1          1.       Plaintiff SPEX Technologies, Inc. ("SPEX" or "Plaintiff"), for its
                        2    Complaint against Defendants Toshiba America Electronic Components, Inc.,
                        3    Toshiba America Information Systems, Inc., Toshiba America, Inc., Toshiba
                        4    Corporation (collectively, "Defendants"), hereby alleges as follows:
                        5                                          PARTIES
                        6          2.       SPEX is a California corporation with its headquarters at 1860 Hartog
                        7    Dr., San Jose, CA 95131.
                        8          3.       On information and belief, Toshiba America Electronic Components,
                        9    Inc. is a California corporation with its headquarters at 9740 Irvine Blvd., Irvine CA
                       10    92618.
                       11          4.       On information and belief, Toshiba America Information Systems, Inc.
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                       12    is a California corporation with its headquarters at 9740 Irvine Blvd., Irvine CA
                       13    92618.
                       14          5.       On information and belief, Toshiba America, Inc. is a California
                       15    corporation with its headquarters at 9740 Irvine Blvd., Irvine CA 92618.
                       16          6.       On information and belief, Toshiba Corporation is a Japanese
                       17    corporation with its headquarters at 1-1, Shibaura 1-chome, Minato-ku, Tokyo 105-
                       18    8001, Japan.
                       19                                NATURE OF THE ACTION
                       20          7.       This is a civil action for the infringement of United States Patent No.
                       21    6,088,802 (the "'802 patent") (attached as Exhibit A) and United States Patent No.
                       22    6,003,135 (the "'135 patent") (attached as Exhibit B) (collectively, the "Patents-in-
                       23    Suit") under the patent laws of the United States, 35 U.S.C. § 1, et seq.
                       24          8.       This action involves Defendants' manufacture, use, sale, offer for sale,
                       25    and/or importation into the United States of infringing products, methods, processes,
                       26    services and systems that are hardware encrypting memory products that infringe
                       27    one or more of the claims of the Patents-in-Suit.
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                                                                  COMPLAINT
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                        1                               JURISDICTION AND VENUE
                        2           9.     This Court has original jurisdiction over the subject matter of this
                        3    Complaint under 28 U.S.C. §§ 1331 and 1338(a) because this action arises under the
                        4    patent laws of the United States, including 35 U.S.C. §§ 271, et seq.
                        5           10.    Defendants are subject to personal jurisdiction in this judicial district
                        6    because Defendants regularly transact business in this judicial district by, among
                        7    other things, offering Defendants' products and services to customers, business
                        8    affiliates and partners located in this judicial district. In addition, Defendants have
                        9    committed acts of direct infringement of one or more of the claims of one or more
                       10    of the Patents-in-Suit in this judicial district.
                       11           11.    Venue in this district is proper under 28 U.S.C. §§ 1400(b) and 1391(b)
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                       12    and (c), because Defendants are subject to personal jurisdiction in this district and
                       13    have committed acts of infringement in this district.
                       14                                 FACTUAL BACKGROUND
                       15           12.    The Patents-in-Suit were originally assigned to Spyrus, Inc. ("Spyrus").
                       16    SPEX acquired full rights to the Patents-in-Suit from Spyrus.
                       17       SPYRUS IS A PIONEERING ENCRYPTION COMPANY THAT HAS
                       18    DEVELOPED CRYPTOGRAPHIC PRODUCTS RELIED ON TO SECURE
                       19                      ALL TYPES OF SENSITVE INFORMATION
                       20           13.    Spyrus was founded around October 1992 by two pioneering women.
                       21    The founding concept of Spyrus was to make cryptography more affordable and
                       22    usable for distributing and accessing electronic content.
                       23           14.    Instead of building up the company with venture capital money, Spyrus
                       24    initially built itself up using small capital investments from friends and family.
                       25    Spyrus' first major achievement was to propose and win a contract with the
                       26    Department of Defense ("DoD") to design a specification for a hardware security
                       27    module ("HSM") to be used for encrypting sensitive communications. In 1993,
                       28    Spyrus released the LYNKS HSM based on an ARM processor.
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                                                                  COMPLAINT
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                        1          15.      In approximately 1993 or 1994, in partnership with Mykotronx, Spyrus
                        2    released the successor to the LYNKS HSM, the Fortezza Crypto Card, originally
                        3    named the Tessera Crypto Card. See, e.g., https://en.wikipedia.org/wiki/Fortezza.
                        4    The Fortezza Crypto Card and its successor versions were capable of protecting
                        5    sensitive data, including classified information. The Fortezza Crypto Card was used
                        6    in a number of government and military applications.
                        7          16.      Around 1996 or 1997, Spyrus began expanding on the cryptographic
                        8    technology embodied in the LYNKS HSM and Fortezza Crypto Card technologies.
                        9    In particular, Spyrus developed its Hydra series of products, which added
                       10    capabilities such as flash memory or modem functionalities to the family of LYNKS
                       11    HSM and Fortezza Crypto Card technologies. Spyrus' initial Hydra products were
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                       12    released around 1997. Spyrus' Hydra-based products are still sold today. Spyrus'
                       13    Hydra-based products include the PocketVault P-3X, PocketVault P-384,
                       14    PocketVault P-384E, Worksafe, Worksafe Pro and Secure Portable Workplace.
                       15          17.      Spyrus' Hydra-based products have won awards and have been
                       16    consistently               praised.                          See,               e.g.,
                       17    http://www.pcmag.com/article2/0,2817,2478715,00.asp         (editor    rating     of
                       18    "Excellent"               for            the            Worksafe                Pro);
                       19    http://www.pcmag.com/article2/0,2817,2478716,00.asp (editor rating of "excellent"
                       20    for the Worksafe); http://www.thessdreview.com/our-reviews/spyrus-worksafe-pro-
                       21    wtg-secure-flash-drive-review-worlds-secure-flash-drive/3/ (Worksafe Pro was
                       22    given an "Editor's Choice" award; called the "worlds most secure flash drive");
                       23    http://www.spyrus.com/spyrus-named-winner-in-2011-golden-bridge-awards-for-
                       24    virtual-office-technology/ (Secure Pocket Drive named the winner in the Virtual
                       25    Office Technology category of the 3rd Annual 2011 Golden Bridge Awards as well
                       26    as the Security Products Guide's Tomorrow's Technology Today award and the GSN
                       27    Homeland Security award); http://www.darkreading.com/risk/nsa-approves-spyrus-
                       28    hyrda-pc-for-protection-of-classified-government-data/d/d-id/1132286?print=yes
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                                                                   COMPLAINT
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                        1    (Hydra Privacy Card Series II was first commercial-off-the-shelf device approved
                        2    by the DoD to protect confidential information at SECRET level and below);
                        3    http://www.businesswire.com/news/home/20060612005367/en/Info-Security-
                        4    Products-Guide-Names-SPYRUS-Hydra (Hydra Privacy Card Series II won 2006
                        5    Global Excellence in Secure and Removable Mass Storage Device Award from Info
                        6    Security Products Guide); http://www.scmagazine.com/spyrus-hydra-privacy-card-
                        7    series-ii/review/1087/ (very positive review of Hydra Privacy Card Series II; "If you
                        8    deal with sensitive data, especially on laptops, you need the Hydra").
                        9          18.    The Patents-in-Suit, and Spyrus' technology, have been licensed in the
                       10    past by Kingston Digital, Inc. and PNY Technologies, Inc.
                       11          19.    SPEX was formed to facilitate licensing of the technology developed
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                       12    and practiced by Spyrus in both domestic and foreign markets.
                       13                                 THE PATENTS-IN-SUIT
                       14          20.    SPEX is the owner by assignment of the Patents-in-Suit. SPEX owns
                       15    all rights to the Patents-in-Suit, including the right to enforce the Patents-in-Suit.
                       16          21.    United States Patent No. 6,088,802, entitled "Peripheral Device With
                       17    Integrated Security Functionality," issued on July 11, 2000 from United States Patent
                       18    Application No. 08/869,305 filed on June 4, 1997. A true and correct copy of the
                       19    '802 patent is attached as Exhibit A.
                       20          22.    United States Patent No. 6,003,135, entitled "Modular Security
                       21    Device," issued on December 14, 1999 from United States Patent Application No.
                       22    08/869,120 filed on June 4, 1997. A true and correct copy of the '135 patent is
                       23    attached as Exhibit B.
                       24          23.    All maintenance fees for the Patents-in-Suit have been timely paid, and
                       25    there are no fees currently due.
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                        1                                            COUNT I
                        2             (DEFENDANTS' INFRINGEMENT OF THE '802 PATENT)
                        3          24.    Paragraphs 1 through 23 are incorporated by reference as if fully
                        4    restated herein.
                        5          25.    United States Patent No. 6,088,802, entitled "Peripheral Device With
                        6    Integrated Security Functionality," issued on July 11, 2000 from United States Patent
                        7    Application No. 08/869,305 filed on June 4, 1997. A true and correct copy of the
                        8    '802 patent is attached as Exhibit A.
                        9          26.    On information and belief, Defendants have made, used, offered for
                       10    sale, sold and/or imported into the United States products that infringe various
                       11    claims of the '802 patent, and continue to do so. By way of illustrative example,
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                       12    these infringing products include, without limitation, Defendants' hardware
                       13    encrypting storage solutions, including but not limited to Defendants' Encrypted
                       14    USB Drive, HG6 series, HKR series (SED model), and hard drives with the model
                       15    numbers of at least MQ01ABU050BW, MQ01ABU032BW, MQ01ABU025BW,
                       16    PX04SVQ080B,          PX04SVQ160B,           PX04SRQ384B,           PX04SVQ096B,
                       17    PX04SVQ048B,         AL14SEQ18EPB,          AL14SEQ12EPB,         AL14SEQ09EPB,
                       18    PX02SMU160, PX02SMU080, PX02SMU040, PX02SMU020, AL13SXQ300NB,
                       19    AL13SXQ450NB,           AL13SXQ600NB,             PX02SMU020,        PX02SMU040,
                       20    PX02SMU080, PX02SMQ160, PX02SSU010, PX02SSU020, PX02SSU040,
                       21    PX02SSQ080, PX03SNU020, PX03SNU040, PX03SNU080, PX03SNQ160,
                       22    MQ01ABU050W,           MQ01ABU032W,           MK3001GRRR,           MK1401GRRR,
                       23    AL14SEQ120N,          AL14SEQ090N,           AL14SEQ060N,           AL14SEQ045N,
                       24    AL14SEQ030N, PX04SHQ160, PX04SHQ080, PX04SHQ040, PX04SHQ020,
                       25    PX02SSU040, PX02SSU020, PX02SSU010, PX04SMQ320, PX04SMQ160,
                       26    PX04SMQ080, PX04SMQ040, PX04SVQ384, PX04SVQ192, PX04SVQ096,
                       27    PX04SVQ048, PX04SLQ400, PX04SLQ200, PX04SRQ384, PX04SRQ192,
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                                                                COMPLAINT
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                        1    PX04SRQ096, PX04SRQ048, PX03SNQ160, PX03SNU080, PX03SNU040, and
                        2    PX03SNU020.
                        3          27.    Defendants have been and now are directly infringing one or more
                        4    claims of the '802 patent under 35 U.S.C. §271(a), in this judicial District and
                        5    elsewhere in the United States, by, among other things, making, using, selling,
                        6    offering to sell and/or importing into the United States for subsequent sale or use
                        7    hardware encrypting storage solutions that include, for example, (a) a cryptographic
                        8    processor for performing security operations on data; (b) mass storage memory, such
                        9    as flash or magnetic storage; (c) an interface between the cryptographic processor
                       10    and the mass storage memory; (d) an interface with the host computer (e.g., a USB
                       11    or SATA interface); and (e) a mediating interface that ensures that data
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                       12    communicated between the host computer and mass storage memory passes through
                       13    the cryptographic processor. An exemplary chart showing how Defendants infringe
                       14    the '802 patent is attached as Exhibit C.1 Exhibit C is based on the public information
                       15    available to Plaintiff, and Plaintiff reserves the right to amend Exhibit C based on
                       16    information obtained through discovery. Accordingly, the aforementioned products
                       17    infringe the '802 patent literally and/or under the doctrine of equivalents.
                       18          28.    Defendants actively, knowingly, and intentionally induce, and continue
                       19    to actively, knowingly, and intentionally induce, infringement of the '802 patent
                       20    under 35 U.S.C. §271(b) by their customers and end users.
                       21          29.    Defendants have had knowledge of and notice of the '802 patent and its
                       22    infringement. For example, Defendants cited the '802 patent in an Information
                       23    Disclosure Statement submitted to the Patent and Trademark Office in
                       24    approximately November 2006 during the prosecution of the application that became
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                               Plaintiff reserves the right to assert additional claims of the '802 patent against
                       27    Defendants as the litigation proceeds. For example, Plaintiff expressly reserves the
                       28    right to assert additional claims in its infringement contentions to be served during
                             the discovery process.
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                        1    U.S. Patent No. 7,180,934. In any event, Defendants have had knowledge and notice
                        2    of the '802 patent since at least the filing of this complaint.
                        3          30.    Defendants have induced their customers and end users to infringe the
                        4    '802 patent by using hardware encrypting storage solutions to (a) communicate with
                        5    a host computer to exchange data with the hardware encrypting storage solution; (b)
                        6    perform security operations on the data; (c) store or retrieve the data; and (d) mediate
                        7    communications so that data must first pass through the hardware encrypting
                        8    processor. See, e.g., Ex. C. For example, Defendants encourage their customers and
                        9    end users to perform infringing methods by the very nature of the products. When
                       10    using the infringing products, security operations are performed on all data passed
                       11    between Defendants' infringing products and the customer's or end user's computer.
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                       12          31.    Defendants specifically intend their customers and/or end users infringe
                       13    the '802 patent, either literally or by the doctrine of equivalents, because Defendants
                       14    have known about the '802 patent and how Defendants' products infringe the claims
                       15    of the '802 patent but Defendants have not taken steps to prevent infringement by
                       16    their customers and/or end users. Accordingly, Defendants have acted with the
                       17    specific intent to induce infringement of the '802 patent.
                       18          32.    Accordingly, Defendants have induced, and continue to induce,
                       19    infringement of the '802 patent under 35 U.S.C. §271(b).
                       20          33.    As discussed above, Defendants have had knowledge of and notice of
                       21    the '802 patent and its infringement since at least November 2006 and no later than
                       22    the filing of this complaint. Despite this knowledge, Defendants continue to commit
                       23    tortious conduct by way of patent infringement.
                       24          34.    Defendants have been and continue to infringe one or more of the
                       25    claims of the '802 patent through the aforesaid acts.
                       26          35.    Defendants have committed these acts of infringement without license
                       27    or authorization.
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                                                                 COMPLAINT
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                        1          36.    Plaintiff is entitled to recover damages adequate to compensate for the
                        2    infringement.
                        3          37.    Defendants have and continue to infringe the '802 patent, acting with
                        4    an objectively high likelihood that their actions constitute infringement of the '802
                        5    patent. Defendants have known or should have known of this risk at least as early
                        6    as 2006. Accordingly, Defendants' infringement of the '802 patent has been and
                        7    continues to be willful.
                        8                                        COUNT II
                        9             (DEFENDANTS' INFRINGEMENT OF THE '135 PATENT)
                       10          38.    Paragraphs 1 through 23 are incorporated by reference as if fully
                       11    restated herein.
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                       12          39.    United States Patent No. 6,003,135, entitled "Modular Security
                       13    Device," issued on December 14, 1999 from United States Patent Application No.
                       14    08/869,120 filed on June 4, 1997. A true and correct copy of the '135 patent is
                       15    attached as Exhibit B.
                       16          40.    On information and belief, Defendants have made, used, offered for
                       17    sale, sold and/or imported into the United States products that infringe various
                       18    claims of the '135 patent, and continue to do so. By way of illustrative example,
                       19    these infringing products include, without limitation, Defendants' hardware
                       20    encrypting storage solutions, including but not limited to Defendants' Encrypted
                       21    USB Drive, HG6 series, HKR series (SED model), and hard drives with the model
                       22    numbers of at least MQ01ABU050BW, MQ01ABU032BW, MQ01ABU025BW,
                       23    PX04SVQ080B,             PX04SVQ160B,        PX04SRQ384B,          PX04SVQ096B,
                       24    PX04SVQ048B,         AL14SEQ18EPB,         AL14SEQ12EPB,          AL14SEQ09EPB,
                       25    PX02SMU160, PX02SMU080, PX02SMU040, PX02SMU020, AL13SXQ300NB,
                       26    AL13SXQ450NB,              AL13SXQ600NB,        PX02SMU020,          PX02SMU040,
                       27    PX02SMU080, PX02SMQ160, PX02SSU010, PX02SSU020, PX02SSU040,
                       28    PX02SSQ080, PX03SNU020, PX03SNU040, PX03SNU080, PX03SNQ160,
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                                                               COMPLAINT
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                         1    MQ01ABU050W,            MQ01ABU032W,            MK3001GRRR,           MK1401GRRR,
                         2    AL14SEQ120N,           AL14SEQ090N,           AL14SEQ060N,           AL14SEQ045N,
                         3    AL14SEQ030N, PX04SHQ160, PX04SHQ080, PX04SHQ040, PX04SHQ020,
                         4    PX02SSU040, PX02SSU020, PX02SSU010, PX04SMQ320, PX04SMQ160,
                         5    PX04SMQ080, PX04SMQ040, PX04SVQ384, PX04SVQ192, PX04SVQ096,
                         6    PX04SVQ048, PX04SLQ400, PX04SLQ200, PX04SRQ384, PX04SRQ192,
                         7    PX04SRQ096, PX04SRQ048, PX03SNQ160, PX03SNU080, PX03SNU040, and
                         8    PX03SNU020.
                         9          41.    Defendants have been and now are directly infringing one or more
                        10    claims of the '135 patent under 35 U.S.C. §271(a), in this judicial District and
                        11    elsewhere in the United States, by, among other things, making, using, selling,
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                        12    offering to sell and/or importing into the United States for subsequent sale or use
                        13    hardware encrypting storage solutions that include, for example, (a) a security
                        14    portion including (i) a cryptographic processor for performing security operations
                        15    on data; and (ii) an interface to the memory portion; (b) a memory portion including
                        16    (i) mass storage memory, such as flash or magnetic storage; and (ii) an interface to
                        17    the security portion; (c) an interface with the host computer (e.g., a USB or SATA
                        18    interface); and (d) a means for operably connecting the security module and/or the
                        19    target module to the host computing device in response to an instruction from the
                        20    host computing device. An exemplary chart showing how Defendants infringe the
                        21    '135 patent is attached as Exhibit D.2 Exhibit D is based on the public information
                        22    available to Plaintiff, and Plaintiff reserves the right to amend Exhibit D based on
                        23    information obtained through discovery. Accordingly, the aforementioned products
                        24    infringe the '135 patent literally and/or under the doctrine of equivalents.
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                                Plaintiff reserves the right to assert additional claims of the '135 patent against
                        27    Defendants as the litigation proceeds. For example, Plaintiff expressly reserves the
                        28    right to assert additional claims in its infringement contentions to be served during
                              the discovery process.
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                                                                  COMPLAINT
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                         1          42.    Defendants actively, knowingly, and intentionally induce, and continue
                         2    to actively, knowingly, and intentionally induce, infringement of the '135 patent
                         3    under 35 U.S.C. §271(b) by their customers and end users.
                         4          43.    Defendants have had knowledge of and notice of the '135 patent and its
                         5    infringement since at least the filing of the complaint.
                         6          44.    Defendants have induced their customers and end users to infringe the
                         7    '135 patent by using hardware encrypting storage solutions to (a) communicate with
                         8    a host computer to exchange data with the hardware encrypting storage solution; (b)
                         9    perform security operations on the data; (c) mediate communications so that data
                        10    must first pass through the hardware encrypting processor; and (d) operably connect
                        11    the hardware encrypting storage solution in to the host computer in response to an
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                        12    instruction from the host computer. See, e.g., Ex. D. For example, Defendants
                        13    encourage their customers and end users to perform infringing methods by the very
                        14    nature of the products. When using the infringing products, security operations are
                        15    performed on all data passed between Defendants' infringing products and the
                        16    customer's or end user's computer.
                        17          45.    Defendants specifically intend their customers and/or end users infringe
                        18    the '135 patent, either literally or by the doctrine of equivalents, because Defendants
                        19    have known about the '135 patent and how Defendants' products infringe the claims
                        20    of the '135 patent but Defendants have not taken steps to prevent infringement by
                        21    their customers and/or end users. Accordingly, Defendants have acted with the
                        22    specific intent to induce infringement of the '135 patent.
                        23          46.    Accordingly, Defendants have induced, and continue to induce,
                        24    infringement of the '135 patent under 35 U.S.C. §271(b).
                        25          47.    Defendants have been and continue to infringe one or more of the
                        26    claims of the '135 patent through the aforesaid acts.
                        27          48.    Defendants have committed these acts of infringement without license
                        28    or authorization.
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                         1          49.      Plaintiff is entitled to recover damages adequate to compensate for the
                         2    infringement.
                         3                                    PRAYER FOR RELIEF
                         4    Wherefore, SPEX Technologies, Inc., respectfully requests the following relief:
                         5       a) A judgment that Defendants have infringed the '802 patent;
                         6       b) A judgment that Defendants have infringed the '135 patent;
                         7       c) A judgment that awards Plaintiff all appropriate damages under 35 U.S.C. §
                         8          284 for Defendants' past infringement, and any continuing or future
                         9          infringement of the Patents-in-Suit, up until the date such judgment is entered,
                        10          including interest, costs, and disbursements as justified under 35 U.S.C. § 284
                        11          and, if necessary, to adequately compensate Plaintiff for Defendants'
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                        12          infringement;
                        13       d) An adjudication that Defendants' infringement of the '802 patent has been
                        14          willful and deliberate;
                        15       e) An adjudication that Plaintiff be awarded treble damages and pre-judgment
                        16          interest under 35 U.S.C. § 284 as a result of Defendants' willful and deliberate
                        17          infringement of at least the '802 patent;
                        18       f) An adjudication that this case is exceptional within the meaning of 35 U.S.C.
                        19          § 285;
                        20       g) An adjudication that Plaintiff be awarded the attorneys' fees, costs, and
                        21          expenses it incurs in prosecuting this action; and
                        22       h) An adjudication that Plaintiff be awarded such further relief at law or in equity
                        23          as the Court deems just and proper.
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                        25                                JURY TRIAL DEMANDED
                        26          Plaintiff hereby demands a trial by jury of all issues so triable.
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                                                                  COMPLAINT
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                         1                                          Respectfully submitted,
                         2    DATED: September 28, 2016                   RUSS, AUGUST & KABAT
                         3
                         4                                          /s/ Marc A. Fenster ______________
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                         8                                          Facsimile: (310) 826-6991

                         9                                          Attorneys for Plaintiff
                                                                    SPEX Technologies, Inc.
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                                                             COMPLAINT
